  Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 1 of 18 PageID #:1721



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                     v.                  )
                                         )
WILLIAM KURCZODYNA,                      )
                                         )
                             Defendant,  )
and                                      )
                                         )                 No. 04 CR 778-5
FIDELITY SERVICE COMPANY, INC.           )
AND FIDELITY MANAGEMENT TRUST            )                 Judge Samuel Der-Yeghiayan
COMPANY; NORTHWESTERN MUTUAL )
LIFE INSURANCE COMPANY;                  )
COMPUTERSHARE INVESTOR                   )
SERVICES; AND NATIONAL CITY BANK, )
                                         )
       Third Party Citation Respondents. )
                                         )
                                         )

            AMENDED CONSOLIDATED MOTION FOR TURNOVER ORDERS

       The United States, by Patrick J. Fitzgerald, United States Attorney for the Northern District

of Illinois, moves this court for a turnover order, and in support states as follows:

       1.      Judgment in the captioned matter was entered in favor of the United States and

against defendant on April 9, 2007. Pursuant to 18 U.S.C. § 3613(c), upon entry of judgment a lien

arises on all defendant’s property and rights to property. As of March 1, 2010, the defendant has an

outstanding balance of $1,021,609.

       2.      The United States may use any federal or state procedure to enforce the judgment.

18 U.S.C. §§ 3613(a) and (f). Citations to discover assets were issued to, served upon, and answered

by respondents with statutory notice to the defendant as follows:
  Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 2 of 18 PageID #:1722



RESPONDENT                     ISSUED                SERVED                 ANSWERED

Fidelity Investments           May 14, 2007          May 17, 2007           May 18, 2007

Northwestern Mutual Life       May 14, 2007          May 15, 2007           June 7, 2007
Insurance Company

Computershare Investor         April 7, 2009         April 7, 2009          April 8, 2009
Services

National City Bank             March 25, 2009        March 25, 2009         November 23, 2009

       3.      Pursuant to the citations to discover assets, respondents answered (a copy of each

answer is attached as Exhibits A-D) that, at the time the citations were served, respondents had in

their possession or under their control the following assets belonging to the defendant:

       a.      Subject to market fluctuation, Fidelity Investment holds approximately $353,085 in

a Rollover IRA and $124,307 in a Roth IRA;

       b.      Northwestern Mutual Life Insurance Company holds $27,975 in the cash surrender

value of a life insurance policy;

       c.      Subject to market fluctuation, Computershare Investor Services holds 600 shares of

Ford stock; and

       d.      National City Bank holds approximately $90,000 which represents life insurance

proceeds paid solely to the defendant as a beneficiary of Pauline Kurczodyna’s Knights of Columbus

life insurance policy that was converted into three separate accounts in the names of Marcia

Kurczodyna, Laura M. Kurczodyna, and James R. Kurczodyna.

       4.      Based upon respondents’ answers, the United States is entitled to the full liquidated

value of William Kurczodyna’s Roller IRA and Roth IRA accounts at Fidelity Investments, the full

cash surrender value of his life insurance policy at Northwestern Mutual Life Insurance Company



                                                 2
  Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 3 of 18 PageID #:1723



and one-half of the full liquidated value of the 600 shares of Ford stock at Computershare Investor

Services, which represents the non-exempt portion of the funds being held by the respondents that

will reduce the judgment debt. 18 U.S.C. § 3613(a) and 26 U.S.C. § 6334.

       5.      Further, the United States is entitled to the full liquidated value of the life insurance

proceeds that the Knights of Columbus paid solely to the defendant upon the death of Pauline

Kurczodyna, which have since been deposited at National City Bank and converted into accounts

in the names of Marcia Kurczodyna, Laura M. Kurczodyna and James R. Kurczodyna. 18 U.S.C.

§ 3664(n)(mandating defendant’s inheritance received during term of incarceration be applied to

outstanding restitution).1

       6.      The Clerk of the Court collects all payments on monetary penalties imposed in

criminal cases; accordingly, all payments should have case number 04 CR 778-5 written in the lower

left corner of the check and be submitted to:

               Clerk of the Court for the Northern District of Illinois
               219 South Dearborn Street, 20th Floor
               Chicago, Illinois 60604

       7.      The United States has provided all notices required by law.




       1
         The citation to discover assets directed to the Estate of Pauline Kurczodyna, issued and
served in July 2007 was resolved when the Estate paid the defendant’s one-half share of the full
liquidated value of the Estate to the Clerk of the Court in July 2009. The Knights of Columbus life
insurance proceeds however, did not pass through the Estate and were paid directly and solely to the
defendant, who converted the funds into three accounts in the names of others at National City Bank.

                                                  3
  Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 4 of 18 PageID #:1724



       WHEREFORE, the United States moves for entry of turnover orders directing that:

       a.      Fidelity Service Company, Inc. and Fidelity Management Trust Company shall

liquidate William Kurczodyna’s Rollover IRA and Roth IRA accounts and submit all of the proceeds

to the Clerk of the Court;

       b.      Northwestern Mutual Life Insurance Company shall submit the full cash surrender

value of William Kurczodyna’s life insurance policy to the Clerk of the Court;

       c.      Computershare Investor Services shall liquidate William Kurczodyna’s one-half (1/2)

interest in the joint investment account and submit the proceeds to the Clerk of the Court; and

       d.      National City Bank shall submit the full liquidated value of the accounts in the names

of Marcia Kurczodyna, Laura M. Kurczodyna and James R. Kurczodyna to the Clerk of the Court,

as that $90,000 came from Knights of Columbus life insurance proceeds paid solely to defendant

William Kurczodyna that was subsequently converted to these accounts in the names of others.


                                              Respectfully submitted,

                                              PATRICK J. FITZGERALD
                                              United States Attorney



                                              By: s/ Melissa A. Childs
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Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 5 of 18 PageID #:1725




                                                                        EXHIBIT A
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 6 of 18 PageID #:1726
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 7 of 18 PageID #:1727
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 8 of 18 PageID #:1728
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 9 of 18 PageID #:1729
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 10 of 18 PageID #:1730
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 11 of 18 PageID #:1731




                                                                         EXHIBIT B
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 12 of 18 PageID #:1732
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 13 of 18 PageID #:1733




                                                                         EXHIBIT C
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 14 of 18 PageID #:1734
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 15 of 18 PageID #:1735




                                                                          EXHIBIT D
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 16 of 18 PageID #:1736
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 17 of 18 PageID #:1737
Case: 1:04-cr-00778 Document #: 608 Filed: 03/04/10 Page 18 of 18 PageID #:1738
